Case 25-14559-MBK                      Doc          Filed 06/30/25 Entered 06/30/25 19:18:01                        Desc Main
                                                    Document      Page 1 of 4
      Fill in this information to identify the case:

      Debtor 1      Salvatore Faenza

      Debtor 2
      (Spouse, if filing)

      United States Bankruptcy Court for the District of New Jersey

      Case number 25-14559-MBK




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



    Name of creditor: OceanFirst Bank, National Association                 Court claim no. (if known): 8

  Last four digits of any number you use to
  identify the debtor’s account: 9494

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
           No
           Yes. Date of the last notice:        /     _/


  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                 Dates incurred                                 Amount

    1. Late charges                                                                                                  (1)   $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                               (2)   $ 0.00
    3. Attorney’s fees                                                                                               (3)   $ 0.00
    4. Filing fees and court costs                                                                                   (4)   $ 0.00
    5. Bankruptcy/Proof of claim fees                                              5/30/2025                         (5)   $ 625.00
    6. Appraisal/Broker’s price opinion fees                                                                         (6)   $ 0.00
    7. Property inspection fees                                                                                      (7)   $ 0.00
    8. Tax advances (non-escrow)                                                                                     (8)   $ 0.00
    9. Insurance advances (non-escrow)                                                                               (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                      (10)   $ 0.00
  11. Other. Specify:                                                                                               (11)   $ 0.00
   12. Other. Specify:                                                                                              (12)   $ 0.00
  13. Other. Specify:                                                                                               (13)   $ 0.00
  14. Other. Specify:                                                                                               (14)   $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.



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    Debtor1    Salvatore Faenza                                           Case number (if known) 25-14559-MBK
               First Name           Middle Name      Last Name




    Part 2: Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
    and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.

     /s/Kimberly A. Wilson
         Signature
                                                                                  Date 06/05/2025



    Print: Kimberly A. Wilson (031441997)
           First Name           Middle Name          Last Name                    Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Drive
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                    Email n j b k r @ b r o c k a n d s c o t t . c o m




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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

25-13420 BKSUP03
BROCK & SCOTT, PLLC
302 Fellowship Rd, Suite 130
Mount Laurel, NJ 08054
(844) 856-6646
Attorneys for OceanFirst Bank, National Association
In Re:                                                   Case No: 25-14559-MBK

Salvatore Faenza                                         Hearing Date: ____________

                                                         Judge: MICHAEL B
                                                         KAPLAN

                                                         Chapter: 11


                           CERTIFICATION OF SERVICE

    1.     I, Gina Daly:

              represent ______________________ in this matter.

              am the secretary/paralegal for BROCK & SCOTT, PLLC, who represents
           OceanFirst Bank, National Association in this matter.

              am the _________________ in this case and am representing myself.

    2.     On the undersigned date, I sent a copy of the following pleadings and/or
           documents to the parties listed in the chart below:

           Notice of Postpetition Mortgage Fees, Expenses, and Charges

    3.     I certify under penalty of perjury that the above documents were sent using
           the mode of service indicated.


Dated: June 5, 2025                             /s/ Gina Daly
                                                    Gina Daly



  Name and Address of Party          Relationship of               Mode of Service
            Served                  Party to the Case
 Salvatore Faenza                                               Hand-delivered
                                 Debtor
 300 Mounts Corner Drive
Case 25-14559-MBK      Doc     Filed 06/30/25 Entered 06/30/25 19:18:01           Desc Main
                               Document      Page 4 of 4
 Freehold, NJ 07728                                      Regular mail

                                                              Certified mail/RR

                                                              E-mail

                                                              Notice of Electronic Filing
                                                           (NEF)


                                                           Other__________________
                                                            (as authorized by the court *)
                                                              Hand-delivered

                                                              Regular mail

                                                              Certified mail/RR
 STEVEN D PERTUZ
 111 NORTHFIELD
                                Debtor’s                      E-mail
 AVENUE
                                Attorney
 SUITE 304
                                                              Notice of Electronic Filing
 WEST ORANGE, NJ 07052
                                                           (NEF)


                                                           Other__________________
                                                            (as authorized by the court *)
                                                              Hand-delivered

                                                              Regular mail

                                                              Certified mail/RR
 US Dept of Justice
 Office of the US Trustee
                                                              E-mail
 One Newark Center Ste 2100     US Trustee
 Newark, NJ 07102
                                                              Notice of Electronic Filing
                                                           (NEF)


                                                           Other__________________
                                                            (as authorized by the court *)
     * May account for service by fax or other means as authorized by the court through the
     issuance of an Order Shortening Time.
